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UNITED STATES DISTRICT COURT

DISTRICT OF MAINE

ERICA DUBOIS and WARREN STEWARD, )

as Guardian, Parent and Next Friend of }
JORDAN R. STEWARD, a disabled person ) Case No. 1:16-CV-00267-DBH

)

Plaintiff }

v. )

)

CITY OF BANGOR, MAINE, )

et al, }

)

Defendants )

STIPULATION OF DISMISSAL

NOW COME the parties, by and through their attorneys, and stipulate to the
dismissal of the above-captioned action, including any Third-Party Complaints, with
prejudice and without costs to either party, so that no further action or other action may

be brought by any party against the other on the same claims for relief.

Dated: Aprif2¢,2017

 

 

 

David Van Dyke, Esq. U _)
Attorney for Plaintiffs °
Dated: April? , 2017
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Frederick F. Costlow, Esq.
Attomey for Defendant
